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 1 DAVID W. DRATMAN
   Attorney at Law
 2 State Bar No. 78764
   1007 7th Street, Suite 305
 3 Sacramento, California 95814
   Telephone: (916) 443-2000
 4 Facsimile: (916) 443-0989
   Email: dwdratman@aol.com
 5

 6 Attorney for Defendant
   SONIA KIM
 7

 8
                                    IN THE UNITED STATES DISTRICT COURT
 9
                                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                              2:15-CR-0015 TLN

12                                    Plaintiff,            STIPULATION TO AMEND CONDITIONS OF
                                                            RELEASE RE SONIA KIM AND ORDER
13                             v.

14   SONIA KIM, ET AL.,

15                                   Defendants.

16

17             Plaintiff United States of America, by and through its counsel of record, and defendant Sonia

18 Kim, by and through her counsel of record, with the approval of Pretrial Services, hereby stipulate that

19 her conditions of release may be amended to delete the following two special conditions of release:

20        16. Upon completion of the residential program, you shall participate in the following location
              monitoring program component and abide by all the requirements of the program, which will
21
              include having a location monitoring unit installed in your residence and a radio frequency
22            transmitter device attached to your person. You shall comply with all instructions for the use
              and operation of said devices as given to you by the Pretrial Services Agency and employees
23            of the monitoring company. You shall pay all or part of the costs of the program based upon
              your ability to pay, as determined by the pretrial services officer;
24
          17. CURFEW: You shall remain inside your residence every day from 7:00 pm to 7:00 am, or as
25            adjusted by the pretrial services officer for medical, religious services, employment, education,
              treatment, (to include Narcotics Anonymous and Alcoholics Anonymous meetings), or court-
26            ordered obligations. [previously amended by Stipulation and Order].
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          STIPULATION TO AMEND CONDITIONS OF RELEASE
                                                            1
          RE SONIA KIM AND [PROPOSED] ORDER
              Case 2:15-cr-00015-TLN Document 89 Filed 12/31/15 Page 2 of 2


 1         IT IS SO STIPULATED.
 2 Dated: December 30, 2015                            BENJAMIN B. WAGNER
                                                       United Sates Attorney
 3
                                                       /s/ PAUL A. HEMESATH
 4                                                     PAUL A. HEMESATH
                                                       Assistant United States Attorney
 5

 6

 7
     Dated: December 30, 2015                      _   /s/ DAVID W. DRATMAN__________________
 8                                                     DAVID W. DRATMAN
                                                       Attorney for Defendant
 9                                                     SONIA KIM
10
                                                   ORDER
11
           IT IS SO ORDERED
12

13
     Dated: December 30, 2015
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      STIPULATION TO AMEND CONDITIONS OF RELEASE
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      RE SONIA KIM AND [PROPOSED] ORDER
